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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                           )
ANISSA JONES,                              )
                                           )
       PLAINTIFF,                          )   Civil Action No. 15-CV-505(BAH/GMH)
                                           )
       vs.                                 )
                                           )
DISTRICT OF COLUMBIA,                      )
                                           )
       DEFENDANT.                          )
                                           )

                                          ORDER

       The Court, having reviewed the Plaintiff’s Motion for Attorney Fees and Costs, the

Defendant’s opposition thereto, and the Plaintiff’s reply, for good cause shown, hereby grants

Plaintiff’s Motion and awards Plaintiff the amount of $ 87,738.93. This sum shall be paid within

30 days of the date of this Order.



                                                    SO ORDERED,




                                                    Judge Beryl A. Howell
                                                    United States District Court


                                                    DATED:
